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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA CIRCUIT

UNITED STATES OF AMERICA
Case No. 21-cr-00028 (APM)

KENNETH HARRELSON,

wv ee Nee New’ Se New a

Defendant.

ORDER GRANTING DEFENDANT’S MOTION MOTION FOR ENLARGEMENT
OF PAGE LIMIT

Upon Consideration of Defendant Kenneth Harrelson’s and Defendant Kelly Meggs’

Motion to Withdraw the enlarge the page limit, the MOTION IS GRANTED.

SO ORDERED this day of , 2021.

 

THE HONORABLE AMIT P. MEHTA
United States District Judge

 
